          Case 6:17-cr-10142-EFM Document 78 Filed 10/03/18 Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                        )
                                                 )
                   Plaintiff,                    )
                                                 )                   17-10142-EFM
BOGDANA A. MOBLEY,                               )
                                                 )
                 Defendant,                      )
                                                 )

                                   MOTION TO WITHDRAW

       COME NOW the undersigned Kurt P. Kerns, Ian Clark, and Alexey V. Tarasov, counsel

for the Defendant, Bogdana Mobley, and hereby move this Court for permission to withdraw

from this matter and for the appointment of substitute counsel for the Defendant. In support of

this motion, counsel states as follows:

        Counsel were retained in this matter in October and December, 2017, respectively. On

March 5, 2013. On September 25, 2018, Ms. Mobley filed a self-styled “request,” saying that she

is “not completely satisfied with performance of both of my attorneys” (sic) and asking the Court

to allow her “to consult with any public defenders as [she is] not able to afford one.” (sic) The

Defendant apparently requested the withdrawal of all of the undersigned counsel because the

Defendant was dissatisfied with counsel’s representation.

       The Kansas Rules of Professional Conduct (D. Kan. Rule 83.6.1), as amended by the

Supreme Court of Kansas, have been adopted by this Court as the applicable standards of

professional conduct. Rule Rule 226 of the Kansas Rules of Professional Conduct states that “a

lawyer shall not represent a client or, where representation has commenced, shall withdraw from

the representation of a client if . . . . (3) the lawyer is discharged. . . .” See KRPC Rule 226.

Additionally, KRPC Rule 226 further provides that “a lawyer may withdraw from representing a



                                                 -1-
          Case 6:17-cr-10142-EFM Document 78 Filed 10/03/18 Page 2 of 4




client if withdrawal can be accomplished without material adverse effect on the interests of the

client, or if . . . . (2) a client insists upon pursuing an objective that the lawyer considers

repugnant or imprudent. . . .” Id.

        As to the first ground for granting the foregoing motion, the undersigned would show that

the Defendant has effectively discharged them. The Defendant’s open repudiation of the

undersigned counsel’s services and professional advice render further representation by the

undersigned untenable. Ms. Mobley wrote letters to both the prosecutor and the Court. Those

letters clearly state that she is dissatisfied “with [the] performance of both of [her] attorneys.”

        Second, the withdrawal in this case can be accomplished without material adverse effect

on the interests of Ms. Mobley. Trial in this case has been set for December 4, 2018, which is

more than two months from the date of this filing.

        Third, as is prima facie apparent from Ms. Mobley’s letter to the Court, withdrawal is

warranted because the client here insists upon pursuing a course of conduct that her attorneys

consider imprudent. The letter essentially is a request to the Court to set a pre-trial detention

hearing for Ms. Mobley. This conflicts with the undersigned counsel’s prior motion, which this

Court granted, to have the detention hearing subsequent to her daughters’ arrival to the United

States. Furthermore, the Defendant’s letter apparently makes firm her desire to proceed to trial in

this case (Ms. Mobley says that she “would stay in Wichita until the trial”), which goes against

the efforts on counsel’s part to resolve this matter short of trial.

        Withdrawal should also be granted so as to ensure the integrity of these proceedings. In

view of the serious issues involved in this matter, the undersigned counsel’s further

representation of Ms. Mobley through the conclusion of the case in the district court may taint

the outcome of the proceedings, rendering them vulnerable to an attack on Sixth Amendment




                                                  -2-
         Case 6:17-cr-10142-EFM Document 78 Filed 10/03/18 Page 3 of 4




grounds. This case involves a highly-sensitive issue of bringing to the United States two children

from Russia. In making the decision to consent to her children’s traveling from Russia to the

United States, as well as in agreeing to any arrangement regarding the ultimate resolution of this

criminal case, Ms. Mobley needs to have attorneys that she is fully satisfied with.

       If, in the view of the Court, a hearing would aid in determining whether substitution of

counsel is appropriate, counsel are prepared to make an appearance at the Court’s convenience.

       WHEREFORE, counsel moves for permission to withdraw and for the appointment of

substitute counsel for Ms. Mobley.

                                                     Respectfully submitted,

                                                     /s/ Kurt P. Kerns
                                                     /s/ Ian Clark

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                                               -3-
        Case 6:17-cr-10142-EFM Document 78 Filed 10/03/18 Page 4 of 4




                               CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the above Motion to Withdraw was filed and
served electronically pursuant to the CM/ECF system on October 3, 2018, on all counsel of
record.

                                                   /s/ Kurt P. Kerns

                                                   Kurt P. Kerns, #15028




                                             -4-
